
*1180ORDER
Considering the Motion for Interim Suspension filed by the Office of Disciplinary Counsel:
IT IS ORDERED, ADJUDGED AND DECREED that the respondent, Michael H. O’Keefe, Sr., attorney at law, be and he is hereby suspended from the practice of law pursuant to Rule XIX, § 19, pending further orders of this court.
IT IS FURTHER ORDERED that necessary disciplinary proceedings be instituted in accordance with Rule XIX, § 11 and § 19.
/s/ Jeannette Theriot Knoll Justice, Supreme Court of Louisiana
LEMMON, J. not on panel; recused. Rule IV, Part II, § 3.
